UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------)(
BERTA MORALES,
                                   Plaintiff,
                 -against-

                                                                             JUDGMENT
THE DEPARTMENT OF EDUCATION OF
THE CITY OF NEW YORK,
                      Defendant.
-----------------------------------------------------------)(



         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated March 15, 2019, the DOE's motion

for judgment on the pleadings is GRANTED with respect to Morales's federal claims, which

must be and are dismissed; accordingly, the case is closed.

Dated: New York, New York
       March 15, 2019




                                                                       RUBY J. KRAJICK

                                                                         Clerk of Court
                                                                 BY:

                                                                         Deputy Clerk
